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10.

VERIFIED STATEMENT OF HARRY WILEY

My name is Harry Wiley.

On November 19, 2024, I was examined by the Occupational Pneumoconiosis Board of
the West Virginia Offices of the Insurance Commissioner (“OP Board’’) which is
comprised of three physicians, including a radiologist.

On or about January 20, 2025, the OP Board issued a determination that I suffer from
occupational pneumoconiosis, also known as black lung disease.

My black lung disease is still at an early stage. At the present time, the OP Board has
determined that I did not yet suffer, at the time of their November 2024 examination,
from any ratable impairment to my breathing function from my pneumoconiosis under
the rules applicable to claims for workers’ compensation under the laws of the State of
West Virginia.

I have been employed as a coal miner for over thirty-five years.

On November 7, 2024, I took the initial step in applying for transfer to a non-dusty job
under Part 90 by completing Form 0920-0020.

On November 8, 2024, I caused my Form 0920-0020 to be mailed and a radiographic
image of my chest by certified mail to the NIOSH Coal Workers’ Health Surveillance
Program, 1000 Frederick Lane M/S LB208, Morgantown, WV 26508.

As of the filing of this Complaint, I have received no response to my Part 90 application
from the CWHSP or NIOSH’s Respiratory Health Division.

At the present time, I continue to be employed on a full-time basis at an underground coal
mining complex in the State of West Virginia, daily encountering regular exposure to the
dusty hazards of occupational pneumoconiosis.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

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Executed on the | day of (4 S (\ | , 2025.

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